      Case 4:19-cv-00226 Document 385 Filed on 01/27/21 in TXSD Page 1 of 1
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                           ENTERED
                                                                                        January 27, 2021
                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk

                                  HOUSTON DIVISION

 DWIGHT RUSSELL, et al.,                         §
                                                 §
                       Plaintiffs,               §
                                                 §
 v.                                              §           CIVIL ACTION NO. H-19-226
                                                 §
 HARRIS COUNTY, TEXAS, et al.,                   §
                                                 §
                       Defendants.               §

                                             ORDER

       The court construes Larry Sanford’s motion to advise the court, (Docket Entry No. 380), as

a motion for leave to file an amicus curiae brief. The motion is granted.

               SIGNED on January 27, 2021, at Houston, Texas.




                                                             Lee H. Rosenthal
                                                      Chief United States District Judge
